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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 GHALEB AZROUI, individually and on
 behalf of all others similarly situated,      Case No.: 1:18-cv-03709

 Plaintiff,                                    Honorable Jorge L. Alonso

 v.

 HEALTH BENEFITS ONE, LLC d/b/a
 HEALTH BENEFITS CENTER a/k/a
 HEALTH REGISTRATION CENTER a/k/a
 SIMPLE HEALTH, a Florida limited liability
 company,

 Defendant.


             MOTION FOR ONE DAY EXTENSION OF TIME TO FILE FIRST AMENDED
                                  COMPLAINT

        NOW COMES Plaintiff GHALEB AZROUI, individually and on behalf of all others

similarly situated, by and through his lead counsel, James C. Vlahakis, and moves this

Honorable Court for a one day extension of time to file a First Amended Complaint in

response to Defendant Health Benefits One, LLC d/b/a Health Benefit Center a/k/a

Health Registration Center a/k/a Simple Health’s (“HBO”) Motion to Dismiss, and in

support of this Motion states as follows:

        Introduction

        1.      As a result of the death of lead counsel’s mother and prior work

commitments, the Court granted lead counsel’s earlier motion to extend the time to

response to HBO’s motion to dismiss. Dkts. 31 & 27.

        2.      Good cause exists to extend the filing of an Amended Complaint. In

addition to preparing and finalize discovery responses on behalf of two dozen clients in

a California based MDL proceeding, In Re: Apple Inc., Device Performance Litigation, 18-

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md-02827-EJD (N.D. Cali.), lead counsel has prepared discovery in two pending

putative class actions and filed a response opposing arbitration in a long-pending class

action, Rosales v. PRA, 18-cv-00997.

       3.      Additionally, good cause exists to grant this short extension because

during the time leading up today, the parties have attempted to resolve their differences

regarding their MIDP disclosures, including the identity of the third-parties that placed

the calls to Defendant to promote Defendant’s insurance products. While the emails

and lengthy call on Friday, October 19, 2018, did not resolve this case or resolve the

parties disagreement on the scope of MIDP disclosures, the discussions were productive

(at least in Plaintiff’s counsel’s mind).1

   WHEREFORE, Plaintiff respectfully requests that this Honorable Court extend the

deadline to file an Amended Complaint to October 23, 2018.


                                                                   Respectfully submitted,
                                                                   Counsel for Plaintiff

                                                                   /s/ James C. Vlahakis
                                                                   James C. Vlahakis
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         Two other issues may be worthy of mentioning. First, after Plaintiff’s lead counsel filed
the motion to extend (Dkt. 27), he joined “Indian Guides” which lead to him joining a weekend
camping trip standing on Friday evening and ending on Sunday morning. Accordingly, counsel
was unable to complete the final stages of the amendment during this past weekend. Second,
throughout today’s date (October 22, 2018), Plaintiff’s counsel experienced technical issues
relative to Microsoft Word has led to redrafting aspects of the proposed amended complaint,
further delay the preparation of a near final draft.



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                                CERTIFICATE OF SERVICE



       I, James C. Vlahakis, an attorney, certify that on October 22, 2018, I caused the
foregoing MOTION to be served upon counsel of record through operation of the Court’s
Case Management/Electronic Case File (CM/ECF) system.




                                                      /s/ James C. Vlahakis




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